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                                                      U.S. Department of Justice

                                                      Andrew E. Lelling
                                                      United States Attorney
                                                      District of Massachusetts


Main Reception: (617) 748-3100                        John Joseph Moakley United States Courthouse
                                                      1 Courthouse Way
                                                      Suite 9200
                                                      Boston, Massachusetts 02210

                                                      July 29, 2020

David J. Grimaldi, Esq .
David J. Grimaldi, P.C.
929 Massachusetts A venue, Suite 200
Cambridge, MA 0213 9

       Re:     United States v. Yannick Minang a/k/a "Africa"
               Criminal No. 19-10264-PBS

Dear Attorney Grimaldi :

        The United States Attorney for the District of Massachusetts ("the U .S. Attorney") and your
client, Yannick Minang a/k/a "Africa" ("Defendant"), agree as follows, pursuant to Federal Rule
of Criminal Procedure I l(c)(l)(B):

        1.     Change of Plea

        Defendant will plead guilty to Counts I through 7 of the Indictment: wire fraud, in violation
of 18 U.S.C. § 1343 (Counts l through 5); unlawful monetary transactions, in violation of 18
U.S.C. § 1957 (Count 6); and money laundering conspiracy, in violation of 18 U.S .C. § l 956(h)
(Count 7). Defendant admits that he committed the crimes specified in these counts and is in fact
guilty of each one.

       2.      Penalties

       Defendant faces the following maximum penalties:

   •   Wire Fraud (Counts 1 through 5): incarceration for 20 years; a fine equa l to the greater of
       either $250,000 or twice the gross gain or loss; three years of supervised release; and a
       mandatory $100 special assessment;

   •   Unlawful Monetary Transactions (Count 6) : incarceration for 10 years; a fine equal to the
       greater of either $250,000 or twice the value of the criminally derived property; three years
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         of supervised release; and a mandatory $100 special assessment;

    •    Money Laundering Conspiracy (Count 7): incarceration for 20 years; a fine equal to the
         greater of either $500,000 or twice the value of the prope1ty involved in the transaction;
         three years of supervised release; and a mandatory $100 special assessment.

       Defendant understands that, ifhe is not a United States citizen, pleading guilty may affect
Defendant's immigration status. Defendant agrees to plead guilty regardless of any potential
immigration consequences, even if Defendant's plea results in being automatically removed from
the United States.

         3.     Sentencing Guidelines

        The parties agree, based on the following calculations, that Defendant's total "offense
level" under the Guidelines is 28:

                a) Defendant's base offense level for wire fraud is 7 (USSG § 2B 1.1 (a)(l));

                b) Defendant's offense level is increased by 14, because the loss amount was more
                   than $550,000 but not more than $1,500,000 (USSG § 2B 1.1 (b )(1 )(H));

                c) Defendant's offense level is increased by 2, because Defendant employed
                    sophisticated means in carrying out the offense (USSG § 2B 1.1 (b )(1 O)(C));

                d) Defendant's offense level is increased by 3, because Defendant was a manager
                   or supervisor of criminal activity that involved five or more participants or was
                   otherwise extensive (USSG § 3B 1.1 (a));

                e) Defendant's offense level is increased by 3, because Defendant committed the
                   offense while released in connection with another federal offense (USSG
                   § 3Cl .3);

                f) Defendant's offense level is increased by 2, because Defendant will be
                   convicted of a money laundering offense in violation of 18 U.S.C. § 1956(h)
                    (US SG § 2S 1.1 (b )(2 )(B)); and

                g) Defendant's offense level is decreased by 3, because Defendant has accepted
                   responsibility for Defendant's crimes (USSG § 3El.l).

       Defendant understands that the Court is not required to follow this calculation, and that
Defendant may not withdraw his guilty plea if Defendant disagrees with how the Court calculates
the Guidelines or with the sentence the Court imposes.

       Defendant also understands that the government will object to any reduction in his sentence
based on acceptance of responsibility if: (a) at sentencing, Defendant himself or through counsel
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indicates that he does not fully accept responsibility for the crimes he is pleading guilty to
committing; or (b) by the time of sentencing, Defendant has committed a new federal or state
offense, or has in any way obstrncted justice .

       If, after signing this Agreement, Defendant's criminal history score or Criminal History
Category is reduced, the U.S. Attorney reserves the right to seek an upward departure under the
Guidelines.

       Nothing in this Plea Agreement affects the U.S. Attorney's obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.

       4.      Sentence Recommendation

       The U.S. Attorney agrees to recommend the following sentence to the Court:

               a) incarceration at the low end of the Guidelines sentencing range as calculated by
                  the parties in Paragraph 3, to be served concurrently with the sentence of 46
                  months imprisonment imposed on Defendant in United States v. Minang, l 7-
                  cr-10376-FDS;

               b) a fine within the Guidelines sentencing range as calculated by the paities in
                  Paragraph 3, unless the Court finds that Defendant is not able, and is not likely
                  to become able, to pay a fine;

               c) 36 months of supervised release;

               d) a mandatory special assessment of $700, which Defendant must pay to the Clerk
                  of the Court by the date of sentencing;

               e) restitution as determined by the Court at sentencing; and

               f) forfeiture as set forth in Paragraph 6.

       5.      Waiver of Appellate Rights and Challenges to Conviction or Sentence

         Defendant has the right to challenge his conviction and sentence on "direct appeal." This
means that Defendant has the right to ask a higher comt (the "appeals court") to look at what
happened in this case and, if the appeals court finds that the trial comt or the patties made certain
mistakes, overturn Defendant's conviction or sentence. Also, in some instances, Defendant has
the right to file a separate civil lawsuit claiming that serious mistakes were made in this case and
that his conviction or sentence should be overturned.

       Defendant understands that he has these rights, but now agrees to give them up.
Specifically, Defendant agrees that:

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               a) He will not challenge his conviction on direct appeal or in any other proceeding,
                  including in a separate civil lawsuit; and

               b) He will not challenge his sentence, including any court orders related to
                  forfeiture, restitution, fines or supervised release, on direct appeal or in any
                  other proceeding, including in a separate civil lawsuit.

         Defendant understands that, by agreeing to the above, he is agreeing that his conviction
and sentence will be final when the Court issues a written judgment after the sentencing hearing
in this case. That is, after the Court issues a written judgment, Defendant will lose the right to
appeal or otherwise challenge his conviction and sentence, regardless of whether he later changes
his mind or finds new information that would have led him not to agree to give up these rights in
the first place.

      Defendant acknowledges that he is agreeing to give up these rights at least partly in
exchange for concessions the U.S. Attorney is making in this Agreement.

        The parties agree that, despite giving up these rights, Defendant keeps the right to later
claim that his lawyer rendered ineffective assistance of counsel, or that the prosecutor or a member
of law enforcement involved in the case engaged in intentional misconduct serious enough to
entitle Defendant to have his conviction or sentence overturned.

       6.      Forfeiture

        Defendant understands that the Court will, upon acceptance of Defendant's guilty plea,
enter an order of forfeiture as pa11 of Defendant's sentence, and that the order of forfeiture may
include assets directly traceable to Defendant's offense, assets used to facilitate Defendant's
offense, substitute assets and/or a money judgment equal to the value of the property derived from,
or otherwise involved in, the offense.

       The assets to be forfeited specifically include, without limitation, the following:

               a. $629,118, to be entered in the form of an Order of Forfeiture (Money
                  Judgment).
       Defendant admits that $629,118 is subject to forfeiture on the grounds that it is equal to the
amount of proceeds Defendant derived from the offense and/or to the amount of money involved
in Defendant's offense.

         Defendant acknowledges and agrees that the amount of the forfeiture money judgment
represents proceeds the Defendant obtained (directly or indirectly), and/or facilitating prope1ty
and/or property involved in, the crimes to which Defendant is pleading guilty and that, due at least
in part to the acts or omissions of Defendant, the proceeds or property have been transferred to,' or
deposited with, a third paity, spent, cannot be located upon exercise of due diligence, placed
beyond the jurisdiction of the Court, substantially diminished in value, or commingled with other
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property which cannot be divided without difficulty. Accordingly, Defendant agrees that the
United States is entitled to forfeit as "substitute assets" any other assets of Defendant up to the
value of the now missing directly forfeitable assets.

        Defendant agrees to consent to the entry of an order of forfeiture for such property and
waives the requirements of Federal Rules of Criminal Procedure ll(b)(l)(J), 32.2, and 43(a)
regarding notice of the forfeiture in the charging instrument, advice regarding the forfeiture at the
change-of-plea hearing, announcement of the forfeiture at sentencing, and incorporation of the
forfeiture in the judgment. Defendant understands and agrees that forfeiture shall not satisfy or
affect any fine, lien, penalty, restitution, cost of imprisonment, tax liability or any other debt owed
to the United States.

        If the U.S. Attorney requests, Defendant shall deliver to the U.S. Attorney within 30 days
after signing this Plea Agreement a sworn financial statement disclosing all assets in which
Defendant cunently has any interest and all assets over which Defendant has exercised control, or
has had any legal or beneficial interest. Defendant further agrees to be deposed with respect to
Defendant's assets at the request of the U.S. Attorney. Defendant agrees that the United States
Department of Probation may share any financial information about the Defendant with the United
States Attorney's Office.

        Defendant also agrees to waive all constitutional, legal, and equitable challenges (including
direct appeal, habeas corpus, or any other means) to any forfeiture canied out in accordance with
this Plea Agreement.

         Defendant hereby waives and releases any claims Defendant may have to any vehicles,
currency, or other personal property seized by the United States, or seized by any state or local law
enforcement agency and turned over to the United States, during the investigation and prosecution
of this case, and consents to the forfeiture of all such assets.

         7.    Civil Liability

        This Plea Agreement does not affect any civil liability, including any tax liability,
Defendant has incurred or may later incur due to his criminal conduct and guilty plea to the charges
specified in Paragraph l of this Agreement.

         8.    Breach of Plea Agreement

        Defendant understands that if he breaches any provision of this Agreement, Defendant
cannot use that breach as a reason to withdraw his guilty plea. Defendant's breach, however, would
give the U.S. Attorney the right to be released from his commitments under this Agreement, and
would allow the U.S. Attorney to pursue any charges that were, or are to be, dismissed under this
Agreement.

        If Defendant breaches any provision of this Agreement, the U.S. Attorney would also have
the right to use against Defendant any of Defendant's statements, and any info1mation or materials
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he provided to the government during investigation or prosecution of his case. The U.S. Attorney
would have this right even if the parties had entered any earlier written or oral agreements or
understandings about this issue.

        Finally, if Defendant breaches any provision of this Agreement, he thereby waives any
defenses based on the statuteoflimitations, constitutional protections against pre-indictment delay,
and the Speedy Trial Act, that Defendant otherwise may have had to any charges based on conduct
occurring before the date of this Agreement.

         9.    Who is Bound by Plea Agreement

         This Agreement is only between Defendant and the U.S. Attorney for the Dish·ict of
Massachusetts. It does not bind the Attorney General of the United States or any other federal,
state, or local prosecuting authorities.

         10.   Modifications to Plea Agreement

       This Agreement can be modified or supplemented only in a written memorandum signed
by both pa1ties, or through proceedings in open court.

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       If th.is letter accurately reflects the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S. Attorney William B. Brady.

                                                    Sincerely,

                                                    ANDREW E. LELLING
                                                    United States Attorney

                                            By:    ---....;;::��                    �
                                                     Stephen E. ·ank
                                                     Chief, Securities, Financial, & Cyber Fraud
                                                     Unit
                                                     Jordi de Llano
                                                     Deputy Chief, Securities, Financial, & Cyber
                                                     Fraud Unit




                                                     William B. Brady
                                                     Assistant U.S. Attorney




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                       ACKNOWLEDGMENT OF PLEA AGREEMENT

       I have read this letter and discussed it with my attorney. The letter accurately presents my
agreement with the United States Attorney's Office for the District of Massachusetts . There are
no unwritten agreements between me and the United States Attorney's Office, and no United States
government official has made any unwritten promises or representations to me in connection with
my guilty plea. I have received no prior offers to resolve this case.

       I understand the crimes I am pleading guilty to, and the maximum penalties for those
crimes. I have discussed the Sentencing Guidelines with my lawyer and I understand the
sentencing ranges that may apply.

       I am satisfieu with the legal representation my lawyer has given me and we have had
enough time to meet and discuss my case. We have discussed the charges against me, possible
defenses I might have, the terms of this Agreement and whether I should go to trial.

        I am entering into this Agreement freely and voluntarily and because I am in fact guilty of
the offenses . I believe this Agreement is in my best interest.




                                                 Yannick Minang
                                                 Defendant

                                                 Date:

       I certify that Yannick Minang has read this Agreement and that we have discussed what it
means. I believe Yannick Minang understands the Agreement and is entering into it freely,
voluntarily, and knowingly. I also certify that the U.S. Attorney has not extended any other offers
regarding a change of plea in this case.




                                                 David Grimaldi, Esq ..
                                                 Attorney for Defendant

                                                 Date:       of?
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